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 6
   Ronald Smith
 7
                                    UNITED STATES DISTRICT COURT
 8
                                      DISTRICT OF NEVADA
 9
                                              ***
10
    UNITED STATES OF AMERICA,                     Case No. 2:16-CR-00052-GMN-CWH
11
                          Plaintiff,
12
    v.                                            ORDER ON MOTION FOR LEAVE TO
13                                                OBTAIN A PRE-PLEAPRESENTENCE
    RONALD SMITH                                  REPORT
14
                          Defendant.
15

16
            Defendant Ronald Smith seeks leave for the preparation of a pre-plea presentence report
17
     for the limited purpose of determining Mr. Smith’s criminal history to assist in finalizing the
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     parties’ plea negotiations. The compilation of such a criminal history would serve the ends of
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     justice and would not be unduly burdensome under the circumstances.
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            Accordingly, and for the foregoing reasons,
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            IT IS HEREBY ORDERED that Defendant Ronald Smith’s Motion for a Pre-Plea
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     Presentence Report for a determination of criminal history (ECF No. 122) is GRANTED.
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        Case
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 1          IT IS FURTHER ORDERED that the United States Probation Office shall prepare
 2   and provide to the Court by April 3, 2017, a Pre-Plea Presentence Investigation Report for the
 3   purpose of determining Defendant Smith’s criminal history only.
 4   IT IS SO ORDERED.
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 8                                                UNITED STATES DISTRICT JUDGE

 9                                                              31
                                                  Dated this             day of January
                                                                                ______, 2017
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